This case involves a bill filed to establish and foreclose a mechanic's lien. Some of defendants filed answers in the nature of a cross-bill to determine their rights under other liens. Plaintiffs as contractors built a house for defendants Bolinger. They filed a claim of lien. Plaintiffs did not make out and give to defendants a statement under oath of the number and names of subcontractors and laborers, giving the amount due or to become due to them as required by section 14799, 3 Comp. Laws 1915, which provides:
"Until the statement provided for in this section is made, in manner and form as herein provided, the contractor shall have no right of action or lien against the owner, part owner or lessee," etc. *Page 491 
It follows that plaintiffs had no lien to foreclose. The trial court dismissed plaintiffs' bill of complaint. The decree of the trial court is affirmed, with costs.
WIEST, C.J., and BUTZEL, CLARK, McDONALD, SHARPE, and FEAD, JJ., concurred. NORTH, J., did not sit.